                        Case 2:17-cv-00322-CW Document 45 Filed 10/24/17 Page 1 of 1
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                      REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                            FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                             ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                  TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                        for the District of Utah                              on the following
           Trademarks or            Patents . (       the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                     DATE FILED                    U.S. DISTRICT COURT
             2                           4/6/2017              District of Utah, 351 S. West Temple, Rm. 1.100, Salt Lake City, UT 84101
PLAINTIFF                                                                  DEFENDANT
 Fronteir Water Systems LLC                                                  General Electric Company




        PATENT OR                       DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK
1        US7,790,034 B2                      9/7/2010                                     Zenon Technology Partnershop

2        US 7,550,087 B2                    6/23/2009                                      Zenon Technology Partnership

3        US 8,163,181 B2                    4/24/2012                                      Zenon Technology Partnership

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                                 In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                             Amendment              Answer            Cross Bill           Other Pleading
        PATENT OR                       DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK
1

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
    Order dismissing case with prejudice entered 10/24/2017 per filing of Stipulation of Dismissal.




CLERK                                                      (BY) DEPUTY CLERK                                             DATE

                      D. Mark Jones                          Becky Harris                                                 10/24/2017

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
